




NO. 07-08-0519-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JANUARY 14, 2009



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IN RE BARRY DWAYNE MINNFEE, 



Relator



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Opinion on Original Proceeding for Writ of Mandamus



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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Pending before this court is the application of Barry Dwayne Minnfee for a writ of mandamus. &nbsp;He requests that we compel “disclosure or discovery [of] party’s right to own statement.” &nbsp;We deny the application for the reasons that follow.

First, relator fails to state who he is wishing to mandamus. &nbsp;That is, nothing in the petition discloses any relevant details surrounding his discovery request or the trial court involved.

Second, rules of procedure obligate one seeking mandamus relief to accompany his petition with an appendix. &nbsp;
Tex. R. App. P. 
52.3(j). &nbsp;The latter must include, among other things, a certified or sworn copy of the document showing the matter complained of. &nbsp;In this case, the document showing the matter complained of would be the motion requesting discovery of his own statement with the trial court. &nbsp;Minnfee failed to provide us with that motion or request. &nbsp;

Accordingly, the application for writ of mandamus pending before this court is denied.

 

Per Curiam




































































